Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 1 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 2 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 3 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 4 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 5 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 6 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 7 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 8 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 9 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 10 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 11 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 12 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 13 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 14 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 15 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 16 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 17 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 18 of 19
Case 6:17-cv-06442-CJS Document 1 Filed 07/07/17 Page 19 of 19
